           Case 1:20-vv-00457-UNJ Document 38 Filed 08/02/21 Page 1 of 5




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-457V
                                          UNPUBLISHED


    JORI BALDWIN COX,                                           Chief Special Master Corcoran

                         Petitioner,                            Filed: July 2, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Jennifer Sayad, Zgheib Sayad, P.C., White Plains, NY, for petitioner.

Mollie Danielle Gorney, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES 1

       On April 17, 2020, Jori Baldwin Cox filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges she suffered a Table Injury – Shoulder Injury Related
to Vaccine Administration (SIRVA) – as a result of her November 22, 2017 influneza (“flu”)
vaccination. Petition at 1. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

      On June 28, 2021, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On June 28, 2021, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $67,700.00 (which
represents compensation of $67,500.00 for pain and suffering, and $200.00 for
unreimbursed expenses). Proffer at 1-2. In the Proffer, Respondent represented that

1  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
          Case 1:20-vv-00457-UNJ Document 38 Filed 08/02/21 Page 2 of 5



Petitioner agrees with the proffered award. Id. Based on the record as a whole, I find that
Petitioner is entitled to an award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $67,700.00 (which represents compensation of $67,500.00 for pain
and suffering, and $200.00 for unreimbursed expenses) in the form of a check
payable to Petitioner. This amount represents compensation for all damages that would
be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


                                                    2
           Case 1:20-vv-00457-UNJ Document 38 Filed 08/02/21 Page 3 of 5




                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

                                                     )
    JORI BALDWIN COX,                                )
                                                     )
                 Petitioner,                         )
                                                     )   No. 20-457V
    v.                                               )   Chief Special Master Corcoran
                                                     )   ECF
    SECRETARY OF HEALTH AND HUMAN                    )
    SERVICES,                                        )
                                                     )
                 Respondent.                         )
                                                     )

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

         On April 17, 2020, Jori Baldwin Cox 1 (“petitioner”) filed a petition for compensation

under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34

(“Vaccine Act” or “Act”), alleging that she suffered a Shoulder Injury Related to Vaccine

Administration (“SIRVA”), as defined in the Vaccine Injury Table, following administration of

an influenza vaccine she received on November 22, 2017. Petition at 1. On June 24, 2021, the

Secretary of Health and Human Services (“respondent”) filed a Rule 4(c) Report indicating that

this case is appropriate for compensation under the terms of the Act for a SIRVA Table injury,

and on June 28, 2021, the Chief Special Master issued a Ruling on Entitlement finding petitioner

entitled to compensation. ECF No. 29; ECF No. 30.

I.       Items of Compensation

         A.     Pain and Suffering

         Respondent proffers that petitioner should be awarded $67,500.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.


1
 Petitioner originally filed under the name “Jori Baldwin.” Petitioner’s motion to amend the
caption to reflect her married name, “Jori Baldwin Cox,” was granted on May 21, 2021.
            Case 1:20-vv-00457-UNJ Document 38 Filed 08/02/21 Page 4 of 5




       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that she incurred past unreimbursable

expenses related to her vaccine-related injury. Respondent proffers that petitioner should be

awarded past unreimbursable expenses in the amount of $200.00. See 42 U.S.C. § 300aa-

15(a)(1)(B). Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 2: a lump sum payment of $67,700.00, in the form of a

check payable to petitioner.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Jori Baldwin Cox:                            $67,700.00

                                              Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Acting Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              HEATHER L. PEARLMAN
                                              Deputy Director
                                              Torts Branch, Civil Division


2
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
        Case 1:20-vv-00457-UNJ Document 38 Filed 08/02/21 Page 5 of 5




                                   TRACI L. PATTON
                                   Assistant Director
                                   Torts Branch, Civil Division

                                   /s/ Mollie D. Gorney
                                   MOLLIE D. GORNEY
                                   Trial Attorney
                                   Torts Branch, Civil Division
                                   U.S. Department of Justice
                                   P.O. Box 146
                                   Benjamin Franklin Station
                                   Washington, D.C. 20044-0146
                                   Tel: (202) 616-4029


DATED: June 28, 2021




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